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t. ClR.thsT./mv. ConE
TNW

z. PERSON REPRESENTED
Frost, Nztpoleon

 

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J. MAG. f)KT./DEF. NUNIBER 4. l)lS'l`. DKT.."DEF. NL`MBF.R

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eden y 1/_}5;§1)5

5. APPEALS DKT.IDEF. NUMBER 6. OTHER DKT. UI\'IBER

 

 

 

 

 

 

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'.'.11\‘ CASFJMATTER OF tcm own e. PAVMENTCATEGORY 9. TYPF. Pt-:RSON REPRESENTED 10. R(iszP }ti:§t§.\t'i'li;ilnslriaee §i‘l
ee nstrtlt:llnm
U.S. v. Frost Felony Adult Defendant Cc'imtnal Case
ll. OFFENSE.{S) CH ARGED (Cite U.S. Cmfe, Ti!le & Seetit]tt] limoro than one offense, list (up to iive) major offenses cherged. according to severity ofofl`ense.
l) 18 2113 A.F -- BANK ROBBERY BY FOR CE OR VIOLENCE fm"§_jr-| ,`
lZ. A'I`TORNEY'S NAME {Firsl Nan\e‘ M.I., Last Narne`inc|udingany suffix) 13. COURT ORDER -~J
AND MA[LING ADDRESS IE 0 Appoinliog Counsel 13 C Cn-Counse|
_iOHNSON, L DAN]EL [:] F S\lhs For Federal Del'ender Cl R Subs For Retained Attorney
254 Coun St ij P thanr Pane|Attorney l] Y StandhyCounsel
Suite 301 Prior Attorney's Name:

Memphis TN 3 8103

Te|ephoneNumbe;-: (90]) 543'0700

 

14. NAME AND MA]L[NG ADDRESS ()F LAW FlRM (only provide per instructions]

 

k

m Other eeilostructions}'___

 

 

i Appointn\ent Date:

 

EABecxose the above-named person represented has testified under oath or has

othe wise satisfied this court that he or she (l) is financially unahle to employ econse| and
(2) does not wish to waive connse|, and because the interests ofjustice so require. the
attorney whose name appears in item 12 is appointed to represent this person in this casey

or " ,
/. / ./ , ,
z ,» t f ' '
f ~ /iji/;U-' 142 .-’/¢,{/?U/'{/ ¢r/
Signature of Presir]ing Jndicial t){l`lcer or By Order ofthe Court
07/7 Q/D (li`l€
Date olOrder Nunc Pro Tune Date

Repayment or partial repayment ordered from the person represented for this service at
time ol'appointment. NO

 

 

 
 

          

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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CATEGOR|ES mth itemization nfsem'ces with dares) C§fg‘§{‘£$n SY§£§B ngi§tt;;l§§(t;)“ hai)é§§r§:j)" **RB{',?EQ,§AL
15. a. Arraignment and/or Plea

b. Bai] and Detention Hearings

c. Motion Hearings
ll d. Trial
C e. Sentencing Hearings
3 f. Revocation Hearings
:' g. Appeals Court

h. Other (Specify on additional sheets)

[Ra!e per hour = S ) 'E`OTALS:
16. a. Interviews rand Conferences
i'i) b. Ohtaining and reviewing records
0 c. Lega| research and brief writing
g d. Travel time
§ e. Investigativ e and Other work (speeify on additional sheets
ir (Rate per hour = $ ) TOTALS:
17. Travel Expenses (lodgiog, parking, meals. mileage, etc.)
18. Othcr Expenses (uther than expert, transcripts, etc.}
a GRMMAW (CLAmEnANo KojosTEdi?_'

 

  

 

 

 

 

    

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19. CERTlFICAT‘|ON Ol*` ATTDRNEY;'PAYEE FOR THE PERIOD 0 F SERVICE
FROM TO

 

 

lll. APPO]NTMEN`|` TER.MINATIO,N DATE

21. CASE DlS}’O SlTION
[F OTHER THAN CASE COMPLETION

 

 

 

ZZ. CLAIM STATUS ij Final Payment l:i interim Fa_vmeltt Nulnber

Have you previously applied to the court l`cl‘ compensation andfor remimhursement for this case'.’

Otlter than front the court, have
representation? [:l YES ij N() lfyes` give details on additional sheets.
l swear oraflirm the truth or correctness ol' the above statements

 

" mature anttorney'

you, or toyour knowledge has anyone else, received payment (curnpensatlon or anything or value) from any other source in connection with this

[:] Snpplemertta| Payment

l:l YES lf yes. were you paid'.’ [] YES E NO

Dale:

 

 

 

 

r-- ,wg

   
 

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23. [N COURT COMP. 24. OUT OF C()URT COMP.

ZS, TRAVEL EXPENSF.S

26. OTHER EXPENSES Z'i. TOTAL AMT. APPR .' CERT

 

28. SIGNATURE Ol" THE PRESIDING .]UDlClAl. OFFICER

DATE lea. JUDGE ¢' MAC. JUDGE CODF.

 

29. lN COURT COMP. 30. OUT OF COURT COMP. 3].

 

 

TRAVEL EXPE]\`SES

31 OTHER EXPENSES J]. 'I`OTAL AM'I'. APPROVED

 

34. SIGNATURE OF CllIEF JUDGE, COURT

approved in excess ofthe statutory threshold amoun ,

 

OtF APP EAI.S (OR DF.LECATE) l’ayment

DATE 343. .]UDGE CODE

 

 

 

 

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UNITED sTATE DISTRICT COUR - WETERN D's'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 66 in
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Tony R. Arvin

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lcmphis7 TN 38103

L. Danicl Johnson

LAW OFFICE OF L. DANIEL JOHNSON
254 Court Ave.

Ste. 300

l\/lcmphis7 TN 38103

Honorablc J on McCalla
US DISTRICT COURT

